                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE


  ROBERT A. MASON,                             )
                                               )
                  Plaintiff,                   )
                                               )           No.: 3:12-cv-469 PLR-HBG
  v.                                           )
                                               )
  SEVIER COUNTY, TENNESSEE,                    )
  et al.,                                      )
           Defendants.                         )


                                 MEMORANDUM AND ORDER


        This is a civil rights action pursuant to 42 U.S.C. § 1983. There are pending

  before the Court, in addition to other dispositive motions, motions to dismiss filed by

  defendants First Med, Inc. ("First Med") and Robert M. Maughon, M.D. (Dr. Maughon).

  For the following reasons, the motions to dismiss [Docs. 42 and 44, respectively] are

  DENIED as MOOT. In addition, plaintiff's motion for extension of time to conduct

  discovery with respect to the motions to dismiss [Doc. 50] is DENIED as MOOT.

        Plaintiff alleges that he was denied medical care while being held in the Sevier

  County Jail. At the time, First Med had a contract with Sevier County, Tennessee, to

  provide health care to the inmates of the Sevier County Jail; Dr. Maughon is the president

  of First Med.

        In the pending motions to dismiss, First Med and Dr. Maughon each aver several

  grounds for concluding that the complaint fails to state a claim against them. In support




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  of the motions to dismiss, First Med and Dr. Maughon attach copies of excerpts of

  plaintiff's jail medical records. The defendants note that, pursuant to Weiner v. Klais and

  Co., Inc., 108 F.3d 86, 89 (6th Cir. 1997), documents that a defendant attaches to a

  motion to dismiss can be considered part of the pleadings if they are referred to in

  plaintiff's complaint and are central to plaintiff's claim.

         After filing the pending motions to dismiss, the defendants took the deposition of

  the plaintiff.   First Med and Dr. Maughon then each filed a motion for summary

  judgment, which remain pending. [Docs. 77 and 75, respectively]. Each defendant

  attached to the motion for summary judgment the exhibits, including plaintiff's jail

  medical records, that were previously attached to the pending motions to dismiss as well

  as excerpts from plaintiff's deposition and the affidavit of Dr. Maughon. In their motions

  for summary judgment, First Med and Dr. Maughon reiterate the grounds raised in the

  pending motions to dismiss and they specify that they are now relying on plaintiff's

  deposition testimony to further argue the grounds raised in the pending motions to

  dismiss. Under the circumstances, the pending motions to dismiss filed by First Med and

  Dr. Maughon have been subsumed by their motions for summary judgment and the

  motions to dismiss are DENIED as MOOT. See, e.g., Melanie Howard Music, Inc. v.

  Warner Brothers Records, Inc., 2009 WL 3784611 (M. D. Tenn. Nov. 10, 2009) (motion

  to dismiss is moot when arguments in the motion to dismiss "have been subsumed and

  expanded upon in the summary judgment briefing").




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        ENTER:

                                           ____________________________________
                                           UNITED STATES DISTRICT JUDGE




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